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                                   STATEMENT OF FACTS

        Your affiant, Aaron Seigel, is a Task Force Officer assigned to Federal Bureau of
Investigation (FBI). In my duties as a task force officer, I investigate matters involving violations
of Federal law. Currently, I am tasked with investigating criminal activity in and around the U.S.
Capitol grounds on January 6, 2021. As a task force officer, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        According to records obtained through a search warrant which was served on Google, a
mobile device associated with email accounts john.todd3662@gmail,
wrestlingtrojan.jt@gmail.com, and wrestlingtrojan@gmail.com was present at the U.S. Capitol
on January 6, 2021. Subscriber details associated all of these accounts to “John Todd”. Google
estimated the device location using multiple sources including GPS data, information about
nearby Wi-Fi access points, and Bluetooth beacons. This location data varies in its accuracy,
depending on the source(s) of the data. Where Google estimates that its location data is accurate
to within 10 meters, Google assigns a “maps display radius” to the location data point. Finally,
Google reports that its “maps display radius” reflects the actual location of the covered device
associated with the aforementioned email accounts and that it was within the U.S. Capitol
building between 2:45 PM Eastern Standard Time (EST) and 4:24 PM EST on January 6, 2021.




             Location data points of device associated with john.todd3662@gmail.com inside the U.S. Capitol on January 6, 2021.




           Location data points of device associated with wrestlingtrojan.jt@gmail.com inside the U.S. Capitol on January 6, 2021.




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           Location data points of device associated with wrestlingtrojan@gmail.com inside the U.S. Capitol on January 6, 2021.

         In March 2021, the FBI received a tip from Individual 1, who wished to remain anonymous.
Individual 1 reported having an interaction with an unknown male in the Lee’s Summit, Missouri
area on March 6, 2021. Investigators later confirmed this male was John George Todd III. On May
2, 2021, FBI investigators interviewed Individual 1 who said Todd III admitted to being inside the
U.S. Capitol on January 6, 2021. Individual 1 indicated that Todd III produced a cellular telephone
and presented a video which appeared to depict him inside the U.S. Capitol building with numerous
individuals. Additionally, Individual 1 stated the video showed Todd III smoking, what he claimed
to be, a marijuana cigarette inside the U.S. Capitol. Individual 1 recalled asking Todd III how he
came to be involved with the events that took place on January 6, 2021. Todd III explained to
Individual 1 that a friend contacted him several weeks prior to January 6, 2021 and asked if he
wished to “wreak havoc” at the U.S. Capitol. Todd III agreed to participate, and the friend paid for
his airline ticket to the Washington, D.C. area, according to Individual 1.

        On February 15, 2022, your affiant met with Individual 1, to present a copy of a
photograph to them. Your affiant instructed Individual 1 to truthfully report whether the person
depicted in the photograph was or was not the person with whom they interacted with at the bar in
the Lee’s Summit, Missouri area on or about March 6, 2021. Your affiant presented a color copy
of the Missouri driver’s license photograph belonging to the Subject. Individual 1 confirmed the
photograph matched the man they interacted with on the aforementioned date and location.
Furthermore, Individual 1 advised they saw the Subject at the same location during the second
week of February 2022. Individual 1 expressed a willingness to testify, if necessary.

       Your affiant reviewed images and videos captured in and around the U.S. Capitol on
January 6, 2021 and compared them to Todd III’s Missouri driver’s license photograph; they
appeared to depict the same person. Your affiant has also compared Todd III’s driver’s license
photograph to a images from Todd III’s Instagram account which were obtained via open-source
methods. Legal process served upon Instagram confirmed the account belonged to “John Todd” with an
associated email of: john.todd3662@gmail.com. The images appeared to depict the same person.

        Your affiant located images and videos showing Todd III inside the building and on the
grounds of the U.S. Capitol. These observations correlated with the location data points of the
mobile device associated with email accounts john.todd3662@gmail,
wrestlingtrojan@gmail.com, and wrestlingtrojan.jt@gmail.com as produced by Google. In body

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worn camera footage obtained from the Metropolitan Police Department, Todd III was recorded
yelling at law enforcement officers. At one point inside the rotunda, while near a law
enforcement officer, Todd III yelled, “I swear to God, I’ll hip toss your ass into the fuckin’
crowd, mother fucker!” Your affiant also located video footage of Todd III being handed an
unidentified object, placing the object to his lips, and exhaling white smoke while in the U.S.
Capitol building rotunda, which corroborates the observations reported by Individual 1. The
video and images showed Todd III attired in a red hooded sweatshirt with white lettering on the
chest reading “Make America Great Again” and gold cursive lettering on the garment's lower
front. Also, Todd III carried a multi-color backpack (green, red, yellow, and black).

        While reviewing video, investigators identified Todd III’s general movements through
the U.S. Capitol building on January 6, 2021. It should be noted that the foregoing time stamps
are formatted in Universal Coordinated Time (UTC). The reviewed video showed Todd III
entering the U.S. Capitol building on January 6, 2021 via the Upper West Terrace door at 19:44
(UTC). Todd III entered the Rotunda through the west door at 19:45 (UTC) and then left via the
north door. Todd III reappeared in the Rotunda using the north door at about 19:52 (UTC). Video
showed Todd III interacting with an unidentified individual in the Rotunda and smoking some
type of cigarette at 19:53 (UTC). At about 19:54 (UTC), Todd III exited the Rotunda via the east
door and returned at 19:56 (UTC). At about 20:16 (UTC), Todd III exited the Rotunda using the
east door and proceeded east, exiting the Capitol building via the east door at 20:18 (UTC).




 (Left) Todd III wearing a multi-colored backpack inside the U.S. Capitol rotunda on January 6, 2021; (top right)
Todd III appearing to smoke inside the U.S. Capitol rotunda on January 6, 2021; (bottom left) Todd III threatening
                              police in the U.S. Capitol rotunda on January 6, 2021.




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                                   Images from John Todd III’s Instagram Account




        Images of John George Todd III inside and on the grounds of the U.S. Capitol on January 6, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
John George Todd III violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes
or disrupts the orderly conduct of Government business or official functions; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be

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temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant further submits there is probable cause to believe that John George Todd III
violated 40 U.S.C. § 5104(e)(2)(D, E, G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the
Capitol Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Aaron Seigel
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of May 2022.


                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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